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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                    LYNCHBURG DIVISION

UNITED STATES OF AMERICA                     )
ex rel. Jessica Patterson and                )
        Autumn Williams,                     )
                                             )
and                                          )
                                             )
COMMONWEALTH OF VIRGINIA,                    )
ex rel. Jessica Patterson and                )
        Autumn Williams,                     )
                                             )       Civil Action No. 6:19cv00068
               Plaintiffs,                   )
                                             )
       v.                                    )
                                             )
1ST ADULT & PEDIATRICS                       )
HEALTHCARE SERVICES, INC.                    )
(f/k/a 1st ADULT N PEDIATRICS                )
HEALTHCARE SERVICES INC.),                   )
                                             )
               Defendant.                    )

                                       STATUS REPORT

       The United States of America and the Commonwealth of Virginia (“the Commonwealth”)

(collectively, “the Government”) and the Defendant 1st Adult & Pediatrics Healthcare Services,

Inc. (formerly known as 1st Adult N Pediatrics Healthcare Services Inc.) (hereinafter “1st Adult”

or “Defendant”), hereby respectfully submit this Status Report. The Parties state as follows:

       1.      As indicated in the Parties’ Status Report of March 31, 2023 (ECF No. 36), the

Parties had reached a proposed resolution and the proposed settlement documents were undergoing

Governmental approvals. The Parties anticipated that the proposed settlement would be finalized

within thirty (30) days.

       2.      The Parties in fact did finalize the settlement and obtained all necessary signatures

on the settlement agreement as of April 3, 2023.

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       3.      The settlement agreement, among other things, calls for payments over time to be

made by 1st Adult to the Government.

       4.      Paragraph 22 of the settlement agreement provides that “Upon receipt of the

payment described in [the payment provisions of the agreement], the Parties shall promptly sign

and file in the Civil Action a Joint Stipulation of Dismissal of the Civil Action pursuant to Rule

41(a)(1).”

       5.      In addition, Paragraph 25 of the settlement agreement provides, in part, that “The

exclusive jurisdiction and venue for any dispute relating to this Agreement is the United States

District Court for the Western District of Virginia.”

       6.      As contemplated by the settlement agreement, the Parties will file a Joint

Stipulation of Dismissal when 1st Adult has paid the full settlement amount. In the event that there

is an issue with fulfillment of the terms of the settlement agreement, the Parties will notify the

Court accordingly.

DATED: May 4, 2023

                                              Respectfully submitted,

                                              ZACHARY T. LEE
                                              DEPUTY UNITED STATES ATTORNEY

                                      By:
                                                   /s/ Justin M. Lugar
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                                  COMMONWEALTH OF VIRGINIA


                            By:        /s/ Matthew G. Howells
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                                  Counsel for the Commonwealth


                                  1ST ADULT & PEDIATRICS HEALTHCARE
                                  SERVICES, INC.


                            By:        /s/ Robert L. Jenkins, Jr.
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                                CERTIFICATE OF SERVICE

         I hereby certify that on May 4, 2023, I caused a copy of the foregoing Status Report to be
electronically filed with the Clerk of Court using the CM/ECF system, which will provide copies
to all counsel of record.




                                                     /s/ Matthew G. Howells
                                                     Matthew G. Howells
                                                     Assistant Attorney General




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